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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Middle District
                                                       __________ District of
                                                                           of Florida
                                                                              __________

                          Patrick Beaty                                       )
                         Plaintiff/Petitioner                                 )
                                  v.                                          )        Civil Action No.
               Experian Information Services                                  )
                       Defendant/Respondent                                   )

        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Application                                     Instructions

 I am a plaintiff or petitioner in this case and declare                     Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                      Do not leave any blanks: if the answer to a question is “0,”
 and that I am entitled to the relief requested. I declare                   “none,” or “not applicable (N/A),” write that response. If
 under penalty of perjury that the information below is                      you need more space to answer a question or to explain your
 true and understand that a false statement may result in                    answer, attach a separate sheet of paper identified with your
 a dismissal of my claims.                                                   name, your case's docket number, and the question number.

 Signed:       Patrick Beaty                                                 Date:               11/15/2024


1.        For both you and your spouse estimate the average amount of money received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
          semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
          for taxes or otherwise.
                      Income source                                    Average monthly income                     Income amount expected
                                                                       amount during the past 12                        next month
                                                                               months
                                                                         You            Spouse                      You           Spouse
Employment
                                                                  $               4000 $                      $            0 $

Self-employment
                                                                  $                       $                   $               $
Income from real property (such as rental income)
                                                                  $                       $                   $               $
Interest and dividends
                                                                  $                       $                   $               $
Gifts
                                                                  $                       $                   $               $
Alimony
                                                                  $                       $                   $               $
Child support
                                                                  $                       $                   $               $
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Retirement (such as social security, pensions, annuities,
                                                                  $                       $                    $               $
insurance)
Disability (such as social security, insurance payments)
                                                                  $                       $                    $               $
Unemployment payments
                                                                  $                       $                    $               $
Public-assistance (such as welfare)
                                                                  $                       $                    $               $
Other (specify):
                                                                  $                       $                    $               $

                                                                  $                   0 $
                                                                                   0.00                       0 $
                                                                                                           0.00             0 $
                                                                                                                         0.00           0.00
                                                                                                                                           0
                                 Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions.)

Employer                             Address                                                       Dates of employment           Gross
                                                                                                                               monthly pay
Keller North America                  5461 W Waters Ave #900, Tampa FL 33634               August 2024 to now                  $       4000

 Kiewitt Offshore                     2440 Kiewit RD, Ingleside TX 78362                   January 2024 to July 2024           $       4000


3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          taxes or other deductions.)

Employer                             Address                                                       Dates of employment           Gross
                                                                                                                               monthly pay
                                                                                                                               $

                                                                                                                               $

                                                                                                                               $

4.        How much cash do you and your spouse have? $
          Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution                           Type of account                                    Amount you have            Amount your
                                                                                                                               spouse has
                                                                                          $                               $

                                                                                          $                               $

                                                                                          $                               $

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.
                                                      Assets owned by you or your spouse

Home (Value)                                                                                                  $
Other real estate (Value)
                                                                                                              $

Motor vehicle #1 (Value)                                                                                      $                         12000

                  Make and year: Jaguar 2017

                  Model:                XJ

                  Registration #: SAJWJ2GD0H8W12547

Motor vehicle #2 (Value)                                                                                      $                         8000

                  Make and year: Ram 2016

                  Model:                3500

                  Registration #: 3C63RRHLXGG308148

Other assets (Value)                                                                                          $

Other assets (Value)                                                                                          $

6.        State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse                           Amount owed to you                               Amount owed to your spouse
money
                                               $                                                   $

                                               $                                                   $

                                               $                                                   $

7.        State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only)                                        Relationship                                       Age
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8.        Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.
                                                                                                               You            Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
        Are real estate taxes included? ’ Yes ’ No                                                         $              $
        Is property insurance included? ’ Yes ’ No
Utilities (electricity, heating fuel, water, sewer, and telephone)                                         $              $

Home maintenance (repairs and upkeep)                                                                      $              $

Food                                                                                                       $              $

Clothing                                                                                                   $              $

Laundry and dry-cleaning                                                                                   $              $

Medical and dental expenses                                                                                $              $

Transportation (not including motor vehicle payments)                                                      $         1800 $

Recreation, entertainment, newspapers, magazines, etc.                                                     $              $

Insurance (not deducted from wages or included in mortgage payments)

          Homeowner's or renter's:                                                                         $              $

          Life:                                                                                            $              $

          Health:                                                                                          $              $

          Motor vehicle:                                                                                   $              $

          Other:                                                                                           $              $
Taxes (not deducted from wages or included in mortgage payments) (specify):
                                                                                                           $              $

Installment payments

          Motor vehicle:                                                                                   $              $

          Credit card (name):                                                                              $              $

          Department store (name):                                                                         $              $

          Other:                                                                                           $              $

Alimony, maintenance, and support paid to others                                                           $              $
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Regular expenses for operation of business, profession, or farm (attach detailed                           $       $
statement)

Other (specify):                                                                                           $       $

                                                                                                           $      0 $
                                                                                                               0.00                0
                                                                                                                                0.00
                                                                       Total monthly expenses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?
          ’ Yes          ✔ No
                         ’                If yes, describe on an attached sheet.

10.       Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this
          lawsuit? ’ Yes ’  ✔ No

          If yes, how much? $

11.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.
             I'm currently laid off. The company I work for hasn't had any work for me. While working I was paying off debt
             from credit cards I have. I don't have a savings and the money I had is going to my bills.



12.       Identify the city and state of your legal residence.
             St Augustine Florida


          Your daytime phone number:                               4095710535

          Your age:          27        Your years of schooling:                     12




         Print                        Save As...                  Add Attachment                                        Reset
